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 8
                                 IN THE UNITED STATES DISTRICT COURT
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                                    EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                           NO. 1:15-CR-00288-NONE-SKO

12                                Plaintiff,             ORDER SEALING ATTACHMENT 3 TO
                                                         GOVERNMENT’S RESPONSE TO DEFENDANT’S
13                          v.                           SUPPLEMENTAL DECLARATION

14   JORGE MARTINEZ,

15                                Defendant.

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18          Pursuant to Local Rule 141(b) and based upon the representation contained in the Government’s
19 Request to Seal, IT IS HEREBY ORDERED that the Government’s Attachment 3 to Government’s

20 Response to Defendant’s Supplemental Declaration pertaining to defendant Jorge Martinez, be SEALED

21 until further order of this Court.

22          It is further ordered that electronic access to the sealed documents shall be limited to the United
23 States and counsel for the defendant.

24          The Court has considered the factors set forth in Oregonian Publishing Co. v. U.S. District Court
25 for the District of Oregon, 920 F.2d 1462 (9th Cir. 1990). The Court finds that, for the reasons stated in

26 the Government’s Request, sealing the Government’s Attachment 3 to Government’s Response to
27 Defendant’s Supplemental Declaration serves a compelling interest. The Court further finds that, in the

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      ORDER SEALING DOCUMENTS AS SET FORTH IN            1
30    GOVERNMENT’S NOTICE
           Case 1:15-cr-00288-JLT-SKO Document 509 Filed 07/24/20 Page 2 of 2

 1 absence of sealing, the compelling interests identified by the government would be harmed. In light of

 2 the the Government’s Request to Seal, the Court further finds that there are no additional alternatives to

 3 sealing Attachment 3 that would adequately protect the compelling interests identified by the

 4 government.

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     IT IS SO ORDERED.
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 7      Dated:    July 23, 2020
                                                      UNITED STATES DISTRICT JUDGE
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      ORDER SEALING DOCUMENTS AS SET FORTH IN           2
30    GOVERNMENT’S NOTICE
